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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

DANIEL PETERSON,                                    )
                                                    )
        Plaintiff,                                  )
                                                    )
vs.                                                 )        Case No. 2:19-cv-2050
                                                    )
MINERVA SURGICAL, INC., a                           )
Delaware Corporation, and DAVID                     )
CLAPPER, an Individual,                             )
                                                    )
        Defendants.                                 )

    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS OR, IN
     THE ALTERNATIVE, STAY PROCEEDINGS AND COMPEL ARBITRATION

        COME NOW Defendants Minerva Surgical, Inc. (“Minerva”) and Dave Clapper, and

hereby submits Memorandum in support of their request to dismiss or, in the alternative, stay these

proceedings and compel arbitration.

       STATEMENT OF THE NATURE OF THE MATTER BEFORE THE COURT

        Plaintiff worked for Minerva from July 31, 2015 through August 2018, when he resigned

his employment.1        Plaintiff’s employment with Minerva was governed by an Employment

Agreement, which he signed at the outset of his employment.                       While the signing of the

Employment Agreement was a condition of employment, it was not presented to Plaintiff on a

take-it-or-leave-it basis. In fact, as paragraph 6 of Plaintiff’s Complaint references, the parties to

this case had history and knew one another well based on prior business dealings. Plaintiff was

given the opportunity to review and suggest revisions to the Employment Agreement, but

ultimately he signed the Agreement. The Employment Agreement contained the following

provisions, among others: arbitration (“all controversies, claims, or disputes with anyone…arising


1
  Defendants acknowledge that Plaintiff contends his employment was involuntarily terminated, notwithstanding the
reality that the actual facts belie such a contention.

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out of, relating to, or resulting from my employment..”), choice of law (“pursuant to California

law”), and forum selection (“I agree that any arbitration under this Agreement shall be conducted

in San Mateo County, California”). Plaintiff was aware of these provisions at the time he decided

to sign the Agreement.

        After a couple years of employment, Plaintiff requested leave as an accommodation for his

alleged disabilities. Plaintiff’s restrictions included limitations on his ability to travel by airplane.

Defendant Minerva agreed to his request. On April 17, 2018, Plaintiff began his first period of

medical leave. The very next day, unbeknownst to Minerva, Plaintiff flew to the East Coast for a

second interview with another company, Arrinex. Also unbeknownst to Minerva at the time,

Plaintiff sought and received reimbursement for his air travel from both Minerva and Arrinex for

the first interview, which apparently occurred on or about March 15, 2018. Over the course of the

next several months, Plaintiff provided various medical notes and Minerva engaged in an

interactive process with Plaintiff to determine if he could perform the essential functions of his

job. Notwithstanding Minerva’s participation in this interactive discussion with Plaintiff, he filed

his original Charge of Discrimination on May 22, 2018, against Minerva, claiming that Minerva

failed to accommodate his request for reasonable accommodations. Less than a month later, on

June 13, 2018, Plaintiff filed an Amended Charge of Discrimination, claiming failure to

accommodate and that Minerva further discriminated and retaliated against him by comments

made to Arrinex.

        Ultimately though, Plaintiff refused to provide significant and specific medical

documentation that adequately addressed the issues of his restrictions, then-current medical

condition, and whether he could actually perform the essential functions of his job. Throughout

this entire time, Minerva made clear to him that he was still an employee and was simply on



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medical leave until the issues related to the medical documentation could be resolved. But Plaintiff

continued to refuse to provide such medical documentation. Plaintiff then notified Minerva that he

deemed their actions to be a termination from employment. In response, Minerva reiterated to

Plaintiff that he was still considered an employee and had not terminated his employment. Plaintiff

responded by advising many, if not all, of his Minerva colleagues that Minerva had terminated his

employment. At that time, Minerva advised Plaintiff that they interpreted his actions – failing to

provide the proper medical documentation requested by Minerva and his statements to his co-

workers that he no longer worked for Minerva – as a resignation of employment. Plaintiff rejected

that interpretation and continued to insist that Minerva involuntarily terminated his employment.

But when Minerva explained that he was still employed and requested certain information from

him, Plaintiff put the entire issue to rest by unequivocally stating in an email dated September 4,

2018 to Wendy Bowman from Minerva: “In summary to make is unarguably clear, I am no longer

an employee.”

       Plaintiff claims he was treated improperly as it relates to his employment and eventual

separation therefrom. On January 30, 2019, Plaintiff filed his Complaint against Minerva and

Clapper asserting the following causes of action:

       Count I – Disability Discrimination in violation of 42 USC 12101 (ADA)

       Count II – Retaliation in violation of 42 USC 12101 (ADA)

       Count III – Retaliation in violation of Kansas Public Policy (Whistleblower)

       Count IV – Breach of Implied Contract

       Count V – Tortious Interference with a Prospective Business Advantage or Relationship

       Count VI – Declaratory Relief arising from Disputed Arbitration Provision Concerning
       Plaintiff’s Employment by Defendant Minerva Surgical




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        Defendants deny these allegations and further assert that these claims, all of them, should

be arbitrated as the parties agreed in the Employment Agreement signed by them.

                          CONCISE STATEMENT OF THE FACTS

     1. Minerva is a medical technology company located at 101 Saginaw Drive, Redwood City,

California, 94063. Minerva has approximately 128 employees. Defendant David Clapper is the

Minerva’s Chief Executive Officer (“CEO”).

     2. Prior to his employment with Minerva, Plaintiff and defendant David Clapper knew each

other well and were involved in a prior business relationship. Plaintiff’s Complaint, Doc. 1, para.

6.

     3. On or before July 31, 2015, Plaintiff accepted a Territory Manager position with Minerva.

     4. On July 31, 2015, Plaintiff Peterson signed and executed the Minerva Surgical, Inc. At-

Will Employment, Confidential Information, Invention Assignment, Arbitration and Non-Compete

Agreement (the “Employment Agreement”). See Exhibit A. See also Plaintiff’s Complaint, Doc.

1, paras. 139, 140, and 141 (alleging that Plaintiff signed the Employment Agreement).

     5. In relevant part, the Employment Agreement states:

                I agree that any and all controversies, claims, or disputes with
                anyone (including the company and any employee, officer, director,
                shareholder, or benefit plan of the company, in their capacity as such
                or otherwise), whether brought on an individual, group, or class
                basis, arising out of, relating to, or resulting from my employment
                with the company or the termination of my employment with the
                company, including any breach of this agreement, shall be subject
                to binding arbitration . . . and pursuant to California law.

See Exhibit A, Employment Agreement, at 7-8.

     6. The Employment Agreement further states that “I agree that any arbitration under this

Agreement shall be conducted in San Mateo County, California.” Id. at 8-9.




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   7. Within the first year of his employment with Minerva, Plaintiff was moved from Territory

Manager to the Area Sales Director position. Plaintiff’s Complaint, Doc. 1, para. 5.

   8. Plaintiff’s supervisors at Minerva were defendant David Clapper and Thomas Pendlebury.

Plaintiff’s Complaint, Doc. 1, para. 13.

   9. In April 2018, Plaintiff requested and Minerva approved a medical leave of absence.

Plaintiff’s Complaint, Doc. 1, para. 14.

   10. Plaintiff’s medical leave of absence began on April 17, 2018.

   11. While on his medical leave of absence, Plaintiff sought other employment and conducted

interviews with other companies. Plaintiff’s Complaint, Doc. 1, paras. 17, 122, 123, and 124.

   12. In fact, Plaintiff flew to the East Coast on April 18, 2018, the day after his medical leave

of absence began, for a final job interview with Arrinex. Plaintiff’s Complaint, Doc. 1. para. 124

(for the fact that he interviewed with Arrinex – the receipts Plaintiff submitted, not currently part

of the record, establish the date). On information and belief, Plaintiff had conducted an initial

interview, before requesting any reasonable accommodations, with Arrinex.

   13. On May 22, 2018, Plaintiff filed his original Charge of Discrimination with the EEOC.

   14. At the beginning of June 2018, defendant David Clapper, in his capacity as CEO of

Minerva, spoke with the CEO of Arrinex. Plaintiff’s Complaint, Doc. 1, para. 127.

   15. On June 13, 2018, Plaintiff Peterson filed his Amended Charge of Discrimination with the

EEOC.

   16. On September 7, 2018, Plaintiff filed his Second Amended Charge of Discrimination.

   17. On December 4, 2018, the EEOC issued its Right-to-Sue Notice.

   18. On January 30, 2019, Plaintiff Peterson filed his Complaint (Doc. 1), alleging claims of:

disability discrimination, unlawful retaliation, breach of implied contract, and tortious interference



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with a prospective business advantage or relationship. Additionally, Plaintiff seeks a declaration

that the arbitration provision, described above, is unenforceable on unconscionability grounds.

                    STATEMENT OF THE QUESTION(S) PRESENTED

        1.      Because the parties in this case executed a valid Employment Agreement that

contained a choice of law provision (requiring the application of California law) and a forum

selection provision (identifying arbitration in San Mateo County, California as the agreed upon

forum) governing disputes between the parties arising out of or related to Plaintiff’s employment,

and Defendants are amenable to process in California, should this case be dismissed based on

forum non conveniens?

        2.      If this case is not dismissed based on forum non conveniens, should the case

nonetheless be dismissed for failure to state a claim because the parties agreed to arbitration in the

Employment Agreement?

        3.      If this case is not dismissed, should this Court compel arbitration and stay these

proceedings to allow the Parties to undertake arbitration in California as they agreed in the

Employment Agreement?

                                           ARGUMENT

   I.        Legal Standard.

        Dismissal of cases based on forum non conveniens is a matter of discretion for the Court

and will not be overturned absent a finding of an abuse of that discretion. Kelvion, Inc. v.

Petrochina Canada, Ltd. 918 F.3d 1088, 1092 (10th Cir. 2019).

        Section 2 of the Federal Arbitration Act “provides that arbitration agreements ‘shall be

valid, irrevocable, and enforceable, save upon such grounds as exists at law or in equity for the

revocation of any contract.’” Sanchez v. Nitro-Lift Tech., L.L.C., 762 F.3d 1139, 1145 (10th Cir.



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2014) (quoting 9 U.S.C. § 2.). “The Supreme Court has described ‘this provision as reflecting

both a liberal federal policy favoring arbitration and the fundamental principle that arbitration is a

matter of contract.’” Id. (quoting AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 338 (2011)).

Courts “must place arbitration agreements on equal footing with other contracts . . . and ‘rigorously

enforce’ arbitration agreements according to their terms.” Id. (quoting Am. Express Co. v. Italian

Colors Rest., 570 U.S. 228, 233 (2013)). The FAA has created a presumption in favor of

arbitration. See id. And the Honorable Kathryn Vratil has highlighted: “Any doubts concerning

the scope of arbitrable issues should be resolved in favor of arbitration.” Lynn v. General Elec.

Co., 407 F.Supp.2d 1257, 1260 (D. Kan. 2006) (citing Moses H. Cone Mem. Hosp. v. Mercury

Constr. Co., 460 U.S. 1, 24-25, 103 S.Ct. 927, 74 L.Ed.2d 765 (1983)). “‘This presumption in

favor of arbitrability also applies where a party bound by an arbitration agreement raises claims

founded on statutory rights.’” Id. (quoting Armijo v. Prudential Ins. Co. of Am., 72 F.3d 793, 797

(10th Cir. 1995)).

   II.      Because the parties agreed to resolve their disputes in San Mateo County,
            California under California law and Defendants are amenable to process in
            California, this case should be dismissed based on forum non conveniens.

   As recently as March 15, 2019, the Tenth Circuit has expressed its favor for dismissal on the

basis of forum non conveniens. Kelvion, Inc. v. Petrochina Canada, Ltd. 918 F.3d 1088 (10th Cir.

2019). When determining whether a case should be dismissed on the grounds of forum non

conveniens when there is a forum selection clause, the court “must determine whether the forum

selection clause controls, and if the clause controls and points to a state or foreign forum, then the

court may apply the doctrine of forum non conveniens.” Id. at 1091 (citing Atl. Marine Constr.

Co. v. U.S. Dist. Court, 571 U.S. 49, 60, 134 S.Ct. 568, 187 L.Ed.2d 487 (2013)). The Tenth




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Circuit went on to state the following with regard to forum selection clauses and forum non

conveniens:

        When determining whether to dismiss for forum non conveniens, the court grants
        no weight to the plaintiff’s choice of forum of the parties’ private interests, since
        these are deemed to have been fully expressed in the contract and weigh in favor of
        dismissal. Id. at 63-64, & n.8, 134 S.Ct. 568. A “valid forum-selection clause
        should be given controlling weight in all but the most exceptional cases.” Id.
        at 63, 134 S.Ct. 568 (alteration omitted).

        (emphasis added) Kelvion, 918 F.3d at 1091.

        Here, the parties entered into a binding and valid Employment Agreement. See Exhibit A.

Plaintiff voluntarily signed, executed, and assented to the Employment Agreement, including the

agreement to arbitrate and the forum selection provision contained therein. See Exhibit A. There

are no grounds for revocation of this agreement, and enforcement of the agreement against Plaintiff

is not unconscionable. The choice of law and forum-selection provisions are unambiguous and

referenced numerous times throughout the Employment Agreement, at times in all-capital

lettering:

        12. Arbitration and Equitable Relief.

               A. Arbitration. IN CONSIDERATION OF MY EMPLOYMENT WITH
                  THE COMPANY, ITS PROMISE TO ARBITRATE ALL
                  EMPLOYMENT-RELATED DISPUTES, AND MY RECEIPT OF
                  THE COMPENSATION, PAY RAISES, AND OTHER BENEFITS
                  PAID TO ME BY THE COMPANY, AT PRESENT AND IN THE
                  FUTURE, I AGREE THAT ANY AND ALL CONTROVERSIES,
                  CLAIMS, OR DISPUTES WITH ANYONE (INCLUDING THE
                  COPMANY AND ANY EMPLOYEE, OFFICER, DIRECTOR,
                  SHAREHOLDER, OR BENEFIT PLAN OF THE COMPANY, IN
                  THEIR CAPACITY AS SUCH OR OTHERWISE), WHETHER
                  BROUIGHT ON AN INDIVIDUAL, GROUP, OR CLASS BASIS,
                  ARISING OUT OF, RELATING TO, OR RESULTING FROM MY
                  EMPLOYMENT WITH THE COPMANY OR THE TERMINATION
                  OF MY EMPLOYMENT WITH THE COMPANY, INCLUDING
                  ANY BREACH OF THIS AGREEMENT, SHALL BE SUBJECT TO
                  BINDING ARBITRATION UNDER THE ARBITRATION
                  RULES SET FORTH IN CALIFORNIA CODE OF CIVIL


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                   PROCEDURE SECTION 1280 THROUGH 1294.2, INCLUDING
                   SECTION 1281.8 (THE “ACT”), AND PURSUANT TO
                   CALIFORNIA LAW.

                                           ***********

               B. Procedure. I AGREE……AS I WOULD HAVE INSTEAD PAID
                  HAD I FILED A COMPLAINT IN A COURT OF LAW. I AGREE
                  THAT THE ARBITRATOR SHALL ADMINISTER AND
                  CONDUCT ANY ARBITRATION IN ACCORDANCE WITH
                  CALIFORNIA LAW, INCLUDING THE CALIFORNIA CODE
                  OF CIVIL PROCEDURE, AND THAT THE ARBITRATOR
                  SHALL APPLY SUBSTANTIVE AND PROCEDURAL
                  CALIFORNIA LAW TO ANY DISPUTE OR CLAIM, WITHOUT
                  REFERENCE TO RULES OF CONFLICT OF LAW. TO THE
                  EXTENT THAT THE JAMS RULES CONFLICT WITH
                  CALIFORNIA LAW, CALIFORNIA LAW SHALL TAKE
                  PRECEDENCE. I AGREE THAT THE DECISION OF THE
                  ARBITRATOR SHALL BE IN WRITING. I AGREE THAT ANY
                  ARBITRATION UNDER THIS AGREEMENT SHALL BE
                  CONDUCTED IN SAN MATEO COUNTY, CALIFORNIA.

       13. General Provisions.

               A. Governing Law; Consent to Personal Jurisdiction. This Agreement
                  will be governed by the laws of the State of California without giving
                  effect to any choice-of-law rules or principles that may result in the
                  application of the laws of any jurisdiction other than California. To
                  the extent any lawsuit is permitted under this Agreement, I hereby
                  expressly consent to the personal and exclusive jurisdiction and
                  venue of the state and federal courts located in California for any
                  lawsuit filed against me by the Company.

       See Exhibit A (emphasis in bold type added).

       Here, the claims asserted all arise out of, relate to, or result from Plaintiff’s employment

with Minerva. For the reasons outlined herein, the agreement to arbitrate and to resolve all disputes

between the parties in San Mateo County, California, and pursuant to California law is valid. The

defendants are residents of California and are amenable to process in California. As a result, the

Court should dismiss this case on the basis of forum non conveniens.




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   III.      The arbitration, choice of law, and forum selection provisions in the Employment
             Agreement are valid and enforceable under either California or Kansas law.

          An agreement to arbitrate a controversy “shall be valid, irrevocable, and enforceable, save

upon such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

Arbitration is a matter of contract. Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 83, 123

S.Ct. 588, 154 L.Ed.2d 1409 (1960).           Here, Plaintiff acknowledges the existence of the

Employment Agreement and further concedes that he signed the agreement. See Plaintiff’s

Complaint, Doc. 1, paragraphs 139 through 145. Plaintiff is correct; in fact, the agreement was

signed by both Plaintiff and Minerva. See Exhibit A. Plaintiff further concedes that given the

fully executed contract, Plaintiff must establish that the Employment Agreement was invalid as he

attempts to do, albeit without many specific facts, in Count VI of his Complaint. See Plaintiff’s

Complaint, Doc. 1. Whether the Employment Agreement is enforceable is a matter of state law.

Beltran v. AuPairCare, Inc., 907 F.3d 1240, 1251 (10th Cir. 2018). In this case, the state law to be

applied is California law because the Employment Agreement states that in Section 13(A) that the

Agreement “will be governed by the laws of the State of California” and in Section 12 that

arbitration shall be subject to California law. See Exhibit A. But even if Kansas law were to apply,

which defendants expressly deny, the analysis is nearly the same and the outcome is identical. The

provisions are enforceable and the agreement is valid.

                 A. The Agreement is valid under California Law

          Fortunately, the Tenth Circuit Court of Appeals has addressed these exact issues more than

once. The most instructive, and most recent, instance is Beltran v. AuPairCare, Inc., 907 F.3d

1240 (10th Cir. 2018). There, the Court was faced with an arbitration agreement after the lead

plaintiff, Johana Beltran, filed suit in the United States District Court for the District of Colorado,

asserting violations of antitrust laws, RICO, the FLSA, federal and state minimum wage laws, and


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other state law claims. Id. Ms. Beltran was an au pair who signed an agreement with her employer

that included, among other things, arbitration and choice of law provisions. Id. After filing suit,

defendant APC filed a motion to compel arbitration, but the district court denied the motion,

finding that the au pair contracts were “contracts of adhesion and procedurally unconscionable.”

Id. at 1249. But on appeal, the Tenth Circuit reversed that decision and remanded it back to the

District Court, finding that although the au pair agreements were procedurally unconscionable, to

a moderate degree and substantively unconscionable to a high degree, to the extent the agreement

permitted the employer to unilaterally select the arbitrator, the au pair agreement was “not

permeated by unconscionability, and thus unconscionable provision permitting agency to select

arbitration provider could be severed from the contract” and that arbitration consistent therewith

could be compelled. Id. at 1263.

         Because the Beltran case is instructive, it will be principally relied upon here.                        As

previously referenced, California law governs the enforceability of the Employment Agreement,

including the arbitration provision. Under California law, the party “opposing arbitration bears

the burden of proving any defense, such as unconscionability.” Beltran, 907 F.3d at 1451 (quoting

Pinnacle Museum Tower Ass’n v. Pinnacle Market Dev. (US), LLC, 55 Cal.4th 223, 145

Cal.Rptr.3d 514, 282 P.3d at 1224-25)).

         Based on the allegations in Count VI of Plaintiff’s Complaint [Doc. 1]. Defendants

anticipate that Plaintiff will argue that the Employment Agreement, and corresponding arbitration

provision, is unconscionable. 2 These arguments are without merit when viewed in the light most

favorable to plaintiff and when California law is applied:



2
  Plaintiff asserts in his Complaint that the Employment Agreement was presented “as a condition of employment to
Peterson on a take-it-or-leave-it basis”; that the document was “authored in its entirety by defendant Minerva”; that
the “requirements placed upon plaintiff…..were – among other things – unconscionable by their very nature and

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                 Under California law, “unconscionability consists of both procedural and
         substantive elements. The procedural element addresses the circumstances of
         contract negotiation and formation, focusing on oppression or surprise due to
         unequal bargaining power. Substantive unconscionability pertains to the fairness
         of an agreement’s actual terms and to assessments of whether they are overly harsh
         or one-sided. A contract term is not substantively unconscionable when it merely
         gives one side a greater benefit; rather, the terms must be so one-sided as to shock
         the conscience.”

         Beltran, 907 F.3d at 1452 (internal citations omitted).

         Here, Plaintiff will likely argue that the agreement is both procedurally and substantively

unconscionable. Accordingly, each will be addressed in turn.

Procedural Unconscionability

         The principle issue to be determined by the Court in relation to procedural

unconscionability is whether the agreement is a contract of adhesion. Id. A contract of adhesion

results when a contract is “imposed and drafted by the party of superior bargaining strength,

relegates to the subscribing party only the opportunity to adhere to the contract or reject it.”

Beltran, 907 F.3d at 1452-53. But as the Tenth Circuit points out, a determination that a contract

is, in fact, a contract of adhesion is only the beginning of the analysis because contracts of adhesion

are fully enforceable unless there certain other factors are present. Id. at 1453. The mere fact that

an arbitration provision is included within a contract of adhesion only establishes “a modest degree

of procedural unconscionability” and more is required to void the agreement. Id. The Tenth

Circuit explains this concept, in relevant part, as follows:

         Procedural unconscionability focuses on “oppression or surprise due to unequal
         bargaining power.” Baltazar v. Forever 21, Inc., 62 Cal.4th 1237, 200 Cal.Rptr.3d
         7, 367 P.3d 6, 12 (2016). A contract may be oppressive if it involves a lack of
         negotiation and meaningful choice and may include surprise if the allegedly
         unconscionable provision is “hidden within a prolix printed form.” Pinnacle
         Museum, 145 Cal.Rptr.3d 514, 282 P.3d at 1232 (quoting Morris, 27 Cal.Rptr.3d
         at 805). “There are degrees of procedural unconscionability. At one end of the

effect”; and finally that the “subject arbitration requirement was unconscionable.” See Plaintiff’s Complaint,
paragraphs 139, 140, 142, and 143.

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       spectrum are contracts that have been freely negotiated by roughly equal parties, in
       which there is no procedural unconscionability. Contracts of adhesion that involve
       surprise or other sharp practices lie on the other end of the spectrum.” Baltazar,
       200 Cal.Rptr.3d 7, 367 P.3d at 12 (quotation marks omitted). And “[b]ecause
       procedural unconscionability must be measured in a sliding scale with substantive
       unconscionability, our task is not only to determine whether procedural
       unconscionability exists, but more importantly, to what degree it may exist.”
       Morris, 27 Cal.Rptr.3d at 806.

       Beltran, 907 F.3d at 1452.

       Although whether the Employment Agreement is a contract of adhesion may be an issue

of fact to be determined during the course of this case, Defendants do not believe such an analysis

is necessary at this point and will not, for purposes of this argument only, contest that the

Employment Agreement is a contract of adhesion. However, just like in Beltran, the facts pleaded

establish that there was only a modest amount of procedural unconscionability present with this

contract, and perhaps less. Plaintiff Peterson was far more sophisticated than Ms. Beltran, an au

pair who spoke a different language and was paid minimum wage. Throughout the Complaint,

Plaintiff asserts that he was a “top-performing sales representative”; that he ultimately became the

“Area Sales Director” for Minerva; and that he had a “prior successful business relationship with

defendant Minerva’s President and CEO, defendant Clapper.” See Plaintiff’s Complaint, Doc. 1

at paragraphs 5 and 6. In addition, Plaintiff worked in an industry that dealt with complicated and

proprietary issues, which required him to disclose any inventions and agree to confidentiality. See

Exhibit A. And undoubtedly, Plaintiff was far more able than Ms. Beltran to secure other

meaningful employment opportunities given his alleged sales experience. To the extent there were

likely other employment opportunities available for Plaintiff, and his interview with Arrinex

during his employment Minerva suggest there were, it reduces the degree of procedural

unconscionability of the agreement. So whereas Ms. Beltran’s situation resulted in only a modest

degree of procedural unconscionability. Plaintiff Peterson’s situation would result in even less.


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       Likewise, Plaintiff did not have any language barrier like Ms. Beltran, even though the

Court determined that any such language barrier did not result in procedural unconscionability.

Id. at 1254. Plaintiff Peterson cannot claim that he was a minor. He was not. As an experienced

sale representative and because of his prior business relationship with defendant Clapper, Plaintiff

Peterson cannot argue that he did not have experience with contracts, such as the Employment

Agreement at issue, or that he did not understand what arbitration mean when he signed the

agreement. As with Ms. Beltran, Plaintiff signed the agreement, which includes the following

provision:

       E. Voluntary Nature of the Agreement. I ACKNOWLEDGE AND AGREE THAT
       I AM EXECUTING THIS AGREEMENT VOLUNTARILY AND WITHOUT
       ANY DURESS OR UNDUE INFLUENCE BY THE COPMANY OR ANYONE
       ELSE. I FURTHER ACKNOWLEDGE AND AGREE THAT I HAVE
       CAREFULLY READ THIS AGREEMENT AND THAT I HAVE ASKED ANY
       QUESTIONS NEEDED FOR ME TO UNDERSTAND THE TERMS,
       CONSEQUENCES, AND BINDING EFFECT OF THIS AGREEMENT AND
       FULLY UNDERSTAND IT, INCLUDING THAT I AM WAIVING MY RIGHT
       TO A JURY TRIAL. FINALLY, I AGREE THAT I HAVE BEEN PROVIDED
       AN OPPORTUNITY TO SEEK THE ADVICE OF AN ATTORENY OF MY
       CHOICE BEFORE SIGNING THIS AGREEMENT.

       See Exhibit A, Section 12(E).

       A review of the Employment Agreement demonstrates that it is straightforward, organized

by relevant headings, that certain important provisions (many of those at issue here) are in all-

capital type font to highlight their importance, that Plaintiff acknowledged that he read the

agreement, understood the agreement, asked any questions he had about the agreement, and even

was given the opportunity to consult legal counsel about the agreement. These statements in the

Employment Agreement further undercut any alleged procedural unconscionability associated

with the Employment Agreement. See Beltran, 907 F.3d at 1254-56. Accordingly, Defendants

submit that the degree of procedural unconscionability associated with the Employment is



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minimal.     As such, based on the sliding scale discussed in Beltran, the substantive

unconscionability must be significant in order to rise to the level required under the FAA to strike

down the agreement and deny a motion to compel arbitration.

Substantive Unconscionability

       As indicated above, the other consideration in analyzing unconscionability is substantive

unconscionability, which focuses on whether enforcement of the agreement will result in overly

harsh or one-sided results. This factor is also succinctly described by the Tenth Circuit in the

Beltran case:

       The Supreme Court of California has variously described this as “overly harsh,”
       “unduly oppressive,” “so one-sided as to shock the conscience,” or “unfairly one-
       sided.” Baltazar, 200 Cal.Rptr.3d 7, 367 P.3d at 11. “All of these formulations
       point to the central idea that the unconscionability doctrine is concerned not with a
       ‘simple old-fashioned bad bargain,’ but with terms that are ‘unreasonably
       unfavorable to the more powerful party.’” (citation omitted).

       Beltran, 907 F.3d at 1256-57.

       A careful review of the arbitration provision in Plaintiff’s Employment Agreement reveals

the following facts, which are all applicable to the analysis:

       The arbitration provision is included within the Employment Agreement under a hearing

       entitled “Arbitration and Equitable Relief”;

       The arbitration provision is in all-capital type font – it is not buried or hidden in the

       Employment Agreement;

       The arbitration agreement is applicable to both Plaintiff’s and the employer’s claims;

       The arbitration agreement specifies that arbitration will be administered by Judicial

       Arbitration & Mediation Services, Inc. (“JAMS”) pursuant to its employment and

       arbitration rules and procedures – neither the employer nor Plaintiff have the ability to

       unilaterally select an arbitrator or to alter the rules of the arbitration process;

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           The arbitration agreement specifies that the employer will pay for any administrative or

           hearing fees associated with the arbitration that Plaintiff initiates, except that Plaintiff must

           pay arbitration filing fee, up to the amount Plaintiff would have paid to file a lawsuit;

           These provisions are more fair and reasonable than those in the Beltran case. And they do

not produce one-sided or harsh results. The agreement does not include any of fee- or cost-shifting

provisions that courts have occasionally found to be unconscionable, and is in all respects a

standard arbitration clause entitled to full enforcement by the Court. See, e.g., Sanchez v. Nitro-

Lift Tech., L.L.C., 762 F.3d 1139, 1148 (10th Cir. 2014); Shankle v. B-G Maintenance Man. Of

Colorado, Inc., 163 F.3d 1230 (10th Cir. 1999) (requiring employee to pay one-half of arbitrator’s

fees).

           In Beltran, the Tenth Circuit determined that the only substantively unconscionable clause

in the arbitration agreements at issue was the term permitting the employer to unilaterally select

the arbitrator to decide the dispute. Id. at 1262. That term is not included within Plaintiff’s

Employment Agreement and, therefore, this Court should determine that the Agreement is not

substantively unconscionable.

Overall Unconscionability

           Because the Employment Agreement, at worst, only contains a modicum of procedural

unconscionability and no substantive unconscionability, this Court should determine that the

Employment Agreement (Exhibit A) is certainly not permeated with unconscionability. Further,

Plaintiff has not presented nor alleged that the Employment Agreement was signed under duress3

or because of fraud. As such, the Agreement is valid and should be enforced. This case should be

dismissed, or stayed, pending arbitration.



3
    Plaintiff acknowledged the lack of duress in the Agreement itself.

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               B. The Agreement is Valid under Kansas Law

       Although the enforceability of the agreement should be determined under California law,

the outcome is no different even in Kansas law is applied. District Judge Lungstrom, in the

unreported decision of White v. Four B Corp, 2011 WL 4688843 (D. Kan. Oct. 5, 2011), upheld

an arbitration agreement after a detailed analysis of the unconscionability arguments made by the

plaintiff in the case. A copy of the White opinion is included as Exhibit B. In White, the plaintiff

argued that the arbitration provision was unenforceable because, in relevant part, it not supported

by consideration, lacked mutuality, was illusory, and was unconscionable. Id. Judge Lungstrom

correctly ruled that: (1) in consideration for plaintiff’s agreement to arbitrate, defendant employer

hired the plaintiff; (2) no mutuality was required in the agreement because the element of

consideration had been met; (3) a provision permitting defendant to change its rules and

regulations did not render the agreement illusory or unenforceable; and (4) the agreement was not

unconscionable because, among other reasons, there was no deception on the part of the defendant

and mere inequality in bargaining power was not enough to make the agreement unconscionable.

White, 2011 WL 4688843 at *2-*4. With respect to the unconscionability argument, Judge

Lungstrom stated in his opinion the following:

       While defendant in this case may have had superior bargaining strength and
       presented its employment application, including the arbitration clause, to plaintiff
       on a take-it-or-leave-it basis, there was no element of deception here. The
       arbitration provision is written in relatively plain language, not confusing terms,
       and the agreement to arbitrate is reiterated immediately above the signature block
       in bold all-capital lettering. [citation omitted].

                                            **********

       In short, there is simply no allegation or evidence that defendant attempted to
       deceive plaintiff about the existence or substance of the arbitration provision.
       Accordingly, plaintiff has not persuaded the court that the arbitration provision
       contained in the employment application should not be enforced based on principles
       of procedural unconscionability.


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             Id. at *4. See Exhibit B.

             Similarly here, there is no allegation or evidence to suggest that the arbitration provision

in Plaintiff’s Employment Agreement was hidden, or that defendant attempted to deceive Plaintiff.

Rather, the arbitration provision is written in plain language, adequately marked under a hearing

entitled “Arbitration,” and is printed in all-capital lettering. See Exhibit A. So even under Kansas

law, if the court were so inclined to apply it over California law, the Employment Agreement is

enforceable and does not rise to the level of unconscionable.

       IV.      All claims asserted by Plaintiff in the Complaint are subject to arbitration.

             Once it has been shown, as here, that the arbitration provision is enforceable, the next

inquiry for the court is to determine whether all claims asserted by Plaintiff are arbitrable. They

are.

             The liberal presumption in favor of arbitrability applies even when claims arise from

statutory rights. See Sanchez v. Nitro-Lift Tech., L.L.C., 762 F.3d 1139, 1146 (10th Cir. 2014). In

the Tenth Circuit, courts apply “a three-part test when determining whether an issue falls within

the scope of an arbitration clause.” Id. (citing Cummings v. FedEx Ground Package System, Inc.,

404 F.3d 1258, 1261 (10th Cir. 2005)).

             First, the court “should classify the particular clause as either broad or narrow.” Id.

(quoting Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading, Inc., 252 F.3d 218, 224 (2d

Cir. 2001)). Second, “if reviewing a narrow clause, the court must determine whether the dispute

is over an issue that is on its face within the purview of the clause, or over a collateral issue that is

somewhow connected to the main agreement that contains the arbitration clause.” Id. “Where the

arbitration clause is narrow, a collateral matter will generally be ruled beyond its purview.” Id.

However, “[w]here the arbitration clause is broad, there arises a presumption of arbitrability and


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arbitration of even a collateral matter will be ordered if the claim alleged implicates issues of

contract construction or the parties’ rights and obligations under it.” Id.

       Here, the Arbitration Agreement is broad, and a presumption of arbitrability arises. Id.

The Agreement requires arbitration of “any and all controversies, claims, or disputes with

anyone (including the Company and any Employee, Officer, Director, Shareholder, or

benefit plan of the Company, in their capacity as such or otherwise), whether brought on an

individual, group, or class basis, arising out of, relating to, or resulting from [Peterson’s]

employment with the Company or the termination of [his] employment with the Company,

including any breach of this Agreement . . . .” See Exhibit A, Employment Agreement, at 7-8

(emphasis added). Like the agreement at issue in Sanchez, this arbitration provision must be

construed as broad, and is therefore entitled to a presumption of arbitrability. See id. at 1147 (“we

agree with the district court that the arbitration clause at issue here is broad. In fact, we have not

found any case with an arbitration clause as broad as this, stating that ‘[a]ny dispute, difference,

or unresolved question between’ the parties must be arbitrated.”) (emphasis in original); see also

P&P Indus., Inc. v. Sutter Corp., 179 F.3d 861, 871 (10th Cir. 1999) (stating that arbitration clause

covering any “controversy, claim, or breach arising out of or relating to this Agreement . . . is a

‘broad’ one”).

       Plaintiff has asserted six different causes of action in his Complaint:

       Count I – Disability Discrimination in violation of 42 USC 12101 (ADA)

       Count II – Retaliation in violation of 42 USC 12101 (ADA)

       Count III – Retaliation in violation of Kansas Public Policy (Whistleblower)

       Count IV – Breach of Implied Contract

       Count V – Tortious Interference with a Prospective Business Advantage or Relationship



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        Count VI – Declaratory Relief arising from Disputed Arbitration Provision Concerning

Plaintiff’s Employment by Defendant Minerva Surgical

        The question for the court is whether all of these claims are “arising out of, relating to, or

resulting from [Peterson’s] employment with the Company or the termination of [his] employment

with the Company, including any breach of this Agreement.” See Exhibit A, Employment

Agreement, at p. 7-8. The claims made in Counts I through IV and Count VI undeniably arise out

of, relate to, or result from his employment with Minerva. Counts I-III involve discrimination and

retaliation claims directly related to Plaintiff’s employment. See Plaintiff’s Complaint, Doc. 1.

Count IV alleges a breach of a purported implied contract related specifically to various policies

of his employer, Minerva. Id. Accordingly, Count IV arises out of, relates to, or results from

Plaintiff’s employment. Finally, Count VI of the Complaint claims declaratory relief related to

the Employment Agreement and the arbitration provision at issue. Id. Plaintiff essentially

concedes that these claims are subject to arbitration, if the Court finds the provision enforceable,

in paragraph 144 of his Complaint because the only claim he argues is not encompassed by the

arbitration clause are the tort claims made against defendant Clapper in Count V. Id. at paragraph

144.

        Despite plaintiff’s contentions to the contrary, Plaintiff’s claim in Count V of the

Complaint, in fact, arises out of, relates to, or results from his employment with Minerva. Count

V – Tortious Interference with a Prospective Business Advantage or Relationship – should also be

subject to arbitration. The following allegations related to this cause of action demonstrate that,

whether the Court uses a broad or even a narrow construction of the arbitration provision at issue,

the claim arises out of, relates to, or results from his employment at Minerva (with phrases

specifically linking the alleged facts to his employment in bold type for emphasis):



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 17.    While on leave of absence plaintiff sought alternative employment
 including employment with one such prospective employer, Arrinex Incorporated
 (“Arrinex”) in an attempt to resolve the situation and provide for his family by
 simply removing himself from his unhealthy work environment.

 18.    However, defendant Clapper proactively interfered with Peterson’s
 economic opportunity to gain employment with Arrinex. Clapper’s undisputed
 contact with Arrinex in this regard corresponded with a phone call to plaintiff on or
 about June 6, 2018 by Arrinex effectively terminating the employment
 opportunity. The referenced phone call from Arrinex to plaintiff is further
 affirmed by an email subsequently sent to Arrinex by plaintiff as a thank you for
 “bringing [Clapper’s call to Arrinex’s corporate office] to my attention” and to
 expressly state the information “disgreacefully” provided was “untrue and
 defamatory.”

 19.   Minerva and defendant Clapper concurrently utilized plaintiff’s
 weakened position of being on unpaid leave and unable to find alternative
 employment in an attempt to obtain a resignation from plaintiff, and/or to
 deny plaintiff’s requested reasonable accommodation.

 20.    Because of plaintiff’s inability to gain alternative employment due to
 unlawful interference by defendant Clapper, Peterson was then forced to return to
 Minerva’s unhealthy work environment despite not being provided the
 requested accommodations.

 127. Defendant Clapper was acting in this regard in both his individual
 capacity as well as his capacity as CEO on behalf of defendant Minerva.

 129. Defendant Clapper, on information and belief, also made intentional and
 false claims that plaintiff Peterson had cheated on business expenses relating to
 defendant Minerva.

 132. The wrongful behavior set forth above of defendant Clapper, acting for and
 on behalf of defendant Minerva, represents intentional and tortious interference
 in the prospective business advantage and/or expectancy held by plaintiff Peterson
 with Arrinex.

 133. Defendants’ actions as set forth above constitute one or more acts or
 unlawful interferences against plaintiff Peterson, and/or evidence of tortious
 interference, all in violation of plaintiff Peterson’s rights to be free of same, and
 plaintiff has incurred actual and compensatory damages in an amount exceeding
 $75,000.00 as a result.

 134. As a direct and proximate result of the foregoing actions, defendant
 Clapper and Minerva are liable to plaintiff Peterson for his actual and
 compensatory damages in an amount exceeding $75,000.00.


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        135. Defendants[sic] actions as described hereinabove were malicious and/or
        taken in reckless disregard for plaintiff Peterson’s rights, and as such subject
        defendants to punitive damages in an amount exceeding $75,000.00.

        WHEREFORE, plaintiff Peterson prays for the Court’s order against defendant
        Minerva granting him judgment as against defendants Clapper and Minerva,
        jointly and severally, for his actual, compensatory, and punitive damages in an
        overall amount exceeding $75,000.00, for prejudgment interest, together with such
        other relief as the Court deems proper.

        Plaintiff’s alleged reason for seeking other employment with Arrinex, the basis for his

tortious interference claims, was the allegedly unhealthy environment at Minerva. The alleged

comments made by defendant Clapper related to Plaintiff’s employment – a business expense

issue. Plaintiff alleges that defendant Clapper was acting in his capacity as the CEO of Minerva,

his employer. Plaintiff seeks damages for the alleged intentional interference from both defendant

Clapper, one of his supervisors, and from Minerva, his employer. Plaintiff, in essence, claims that

defendant Clapper’s statements to Arrinex, as CEO of Minerva, were part of a larger scheme and

intent by Plaintiff’s employer to take advantage of, and discriminate or retaliate against, plaintiff.

In that regard, alone, plaintiff’s tortious interference claim, by his own allegations, is directly

linked to his employer and his employment. As such, this Court should determine that all of

plaintiff’s claims arise out of, relate to, or result from his employment at Minerva (or alleged

termination therefrom) and, as a result, are all arbitrable.

   V.      If dismissal is not granted, this Court should at least stay the proceedings to allow
           the parties to proceed with arbitration in California on plaintiff’s claims.

        Should the Court decide not to dismiss the case, the proper course of action would be to

stay the proceedings until arbitration is completed. Beltran, 907 F.3d 1240. That was the exact

direction given by the Tenth Circuit in the Beltran case, when they determined that the arbitration

provision was enforceable and such arbitration ought to take place in California. The outcome

here should be no different. Whether through dismissal or a stay, if plaintiff wants to bring claims


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against his employer or supervisor (David Clapper), he should be required to do so in the forum

he voluntarily agreed to at the outset of his employment – by initiating arbitration in San Mateo,

California.

       WHEREFORE, defendants Minerva and Clapper respectfully request an order from this

court dismissing plaintiff’s Complaint or, in the alternative, compelling arbitration and staying

these proceedings until such arbitration has been completed, and for any other relief the court

deems just and proper.



                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE
        I hereby certify that on the 3rd day of May, 2019, the foregoing was filed with the Clerk of
the Court using the CM/ECF system, which will send notice of electronic filing to all counsel of
record.
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